Case 08-14631-GMB   Doc 622    Filed 09/03/08 Entered 09/03/08 13:50:48   Desc Main
                              Document     Page 1 of 8
Case 08-14631-GMB   Doc 622    Filed 09/03/08 Entered 09/03/08 13:50:48   Desc Main
                              Document     Page 2 of 8
Case 08-14631-GMB   Doc 622    Filed 09/03/08 Entered 09/03/08 13:50:48   Desc Main
                              Document     Page 3 of 8
Case 08-14631-GMB   Doc 622    Filed 09/03/08 Entered 09/03/08 13:50:48   Desc Main
                              Document     Page 4 of 8
Case 08-14631-GMB   Doc 622    Filed 09/03/08 Entered 09/03/08 13:50:48   Desc Main
                              Document     Page 5 of 8
   Case 08-14631-GMB           Doc 622    Filed 09/03/08 Entered 09/03/08 13:50:48           Desc Main
                                         Document     Page 6 of 8

                                                                                    4/9/2008
    UNITED STATES BANKRUPTCY COURT
    DISTRICT OF NEW JERSEY

    MARK E. FELGER (MF9985)
    JERROLD N. POSLUSNY, JR. (JP7140)
    COZEN O’CONNOR
    LibertyView, Suite 300
    457 Haddonfield Road
    Cherry Hill, NJ 08002
    (856) 910-5000
    Proposed Attorneys for the Debtors

    In re:                                                    Case No. 08-14631 (GMB)
                                                              (Jointly Administered)
    SHAPES/ARCH HOLDINGS L.L.C., et al.,
                                                              Judge: Gloria M. Burns
                    Debtors.
                                                              Chapter: 11



                   Recommended Local Form:                 Followed          _Modified


              ORDER AUTHORIZING RETENTION OF PHOENIX MANAGEMENT
             SERVICES, INC., AS RESTRUCTURING ADVISORS FOR THE DEBTORS

             The relief set forth on the following pages, numbered two (2) through three (3) is hereby
             ORDERED.




DATED: 4/9/2008
Case 08-14631-GMB            Doc 622        Filed 09/03/08 Entered 09/03/08 13:50:48                  Desc Main
                                           Document     Page 7 of 8
 Page 2

 Shapes/Arch Holdings L.L.C., et al.

 Case No: 08-14631(GMB)

 Order Authorizing Retention of Phoenix Management Services, Inc., as Restructuring Advisors for the Debtors


 In re:           Shapes/Arch Holdings L.L.C., et al.
 Case No.:        08-14631 (GMB)
 Applicant:       Shapes/Arch Holdings L.L.C., et al.

                   Trustee:                   Chap. 7                Chap. 11                 Chap. 13

                  ; Debtors:                  ; Chap. 11               Chap. 13

                   Official Committee of

 Name of Professional:                 Phoenix Management Services, Inc.
 Address of Professional:              110 Chadds Ford Commons
                                       Chadds Ford, PA 19317


           Attorney for:               Trustee              Debtors-in-Possession

                                        Official Committee of

           Accountant for:             Trustee              Debtor-in-Possession

                                        Official Committee of

          ; Other Professional:

                                        Realtor      Appraiser               Special Counsel

                                        Auctioneer ; Other (specify):Debtors’ Restructuring Advisors



          Upon the applicant’s request for authorization to retain the professional named above,

          It is hereby ORDERED as follows:

          1.      The applicants, Shapes/Arch Holdings L.L.C., Shapes L.L.C., Delair L.L.C.,

 Accu-Weld L.L.C. and Ultra L.L.C., are authorized to retain the above party in the professional

 capacity noted. Notwithstanding the foregoing, the United States Trustee and Phoenix

 Management Services, Inc., have agreed that the issue of an “evergreen” retainer will be deferred

 and resolved in due course.


                                                        2

                                                                   Approved by Judge Gloria M. Burns April 09, 2008
Case 08-14631-GMB            Doc 622     Filed 09/03/08 Entered 09/03/08 13:50:48                     Desc Main
                                        Document     Page 8 of 8
 Page 3

 Shapes/Arch Holdings L.L.C., et al.

 Case No: 08-14631(GMB)

 Order Authorizing Retention of Phoenix Management Services, Inc., as Restructuring Advisors for the Debtors


          2.      Compensation shall be paid in such amounts as may be allowed by the Court upon

 proper application(s) therefor.

          3.      The effective date of the retention is the date the application was filed with the

 Court.




 CHERRY_HILL\430600\2 077771.000




                                                        3

                                                                   Approved by Judge Gloria M. Burns April 09, 2008
